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10

11                           UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13

14    GOLDWATER BANK, N.A.,                        Case No. 5:21-cv-00616-JWH-SPx
15                        Plaintiff,
                                                   PLAINTIFF GOLDWATER BANK,
16          v.                                     N.A.’S RESPONSES TO ARTUR
                                                   ELIZAROV’S FIRST SET OF
17    ARTUR ELIZAROV, ET AL.                       INTERROGATORIES
18                        Defendants.
19

20

21
     PROPOUNDING PARTY:                Defendant Artur Elizarov
22
     ANSWERING PARTY:                  Plaintiff Goldwater Bank, N.A.
23
     SET NO.:                          One
24
           NOW COMES Plaintiff Goldwater Bank, N.A. (“Goldwater”), by and through
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     counsel, and responds to Defendant Artur Elizarov’s (“Elizarov”) First Set of
26
     Interrogatories (the “Interrogatories”) as follows:
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                     GOLDWATER’S RESPONSES TO ELIZAROV’S INTERROGATORIES - 1
                                                                        Exhibit AA - 1
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11   2. Does GOLDWATER contend that ELIZAROV made false statements of fact in
12   FORBEARANCE APPLICATION that GOLDWATER found important in deciding
13   whether to approve FORBEARANCE APPLICATION? If so, state:
14                2.1. All facts on which GOLDWATER based its contention, including, at
15   the minimum, each false statement of fact, the reasons why GOLDWATER contends that
16   each such statement was false, and the reasons why GOLDWATER found each such
17   statement important in deciding whether to approve FORBEARANCE APPLICATION;
18                2.2. Legal name and CONTACT INFORMATION of each WITNESS who
19   has personal first-hand knowledge of the facts stated in the answer to subpart 2.1 and a
20   description of the means by which each WITNESS learned those facts;
21                2.3. A description of all EVIDENCE that supports the existence of the facts
22   stated in the answer to subpart 2.1; and
23                2.4. Legal name and CONTACT INFORMATION of each PERSON who
24   currently has custody, possession, or control of each item of EVIDENCE stated in the
25   answer to subpart 2.3.
26         RESPONSE:           Goldwater objects to Interrogatory No. 2 to the extent it is
27   a contention interrogatory that potentially seeks attorney-client privileged and
28   attorney-work product information. This matter is in the early stage of discovery,



                     GOLDWATER’S RESPONSES TO ELIZAROV’S INTERROGATORIES - 4
                                                                        Exhibit AA - 2
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 1   and Goldwater’s views about the application of the facts to the relevant law are
 2   subject to change as discovery progresses. Goldwater further objects to this request
 3   to the extent it asks for information outside of Goldwater’s possession, custody, or
 4   control, since evidence of the truthfulness or falsity of Elizarov’s statements on his
 5   forbearance application is likely to reside with Elizarov or with third parties. In
 6   addition, Goldwater objects to this interrogatory as improperly compound,
 7   resulting in the total number of interrogatories exceeding the limits of Fed. R. Civ.
 8   P. 33(a)(1). Subject to and without waiving its objections, Goldwater contends that
 9   Elizarov’s statement that his current financial assets only included $3,500 in
10   checking accounts and cash on hand was false, based on evidence of other accounts
11   in Elizarov’s name, including the JP Morgan savings account reported on his loan
12   application. Elizarov also falsely represented to Goldwater that the Palm Springs
13   property was his primary residence, when he had already signed a 12-month lease
14   for an apartment in Florida just weeks prior.
15         Evidence of these, as well as other, false statements can be ascertained through
16   the business records being produced in response to Elizarov’s discovery requests
17   pursuant to Fed. R. Civ. P. 33(d).
18         Employees Amanda Uhrig, Melanie Gonzales, Leticia Aguilar, and Renita
19   Nolan communicated with Elizarov regarding his forbearance application and have
20   knowledge of the same. These individuals are employees of Weststar Mortgage
21   Corporation (“Weststar”), which is an entity affiliated with Goldwater who handled
22   the servicing of Elizarov’s loan. Goldwater employee Pete Hill also has general
23   knowledge of Elizarov’s forbearance application. They can be reached through
24   undersigned counsel.
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                    GOLDWATER’S RESPONSES TO ELIZAROV’S INTERROGATORIES - 5
                                                                      Exhibit AA - 3
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 1   Dated: April 22, 2022.
 2

 3
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 5                                          Derek M. Bast, Esq.
 6
                                               And
 7

 8                                       HILBERT & SATTERLY LLP
 9
                                         By: /s/ Joseph A. Levota____________
                                                John Forest Hilbert, Esq.
10                                              Joseph A. LeVota, Esq.
11

12
                                        ATTORNEYS FOR GOLDWATER BANK, N.A.
13

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                   GOLDWATER’S RESPONSES TO ELIZAROV’S INTERROGATORIES - 29
                                                                     Exhibit AA - 4
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                                                                Exhibit AA - 5
 Case 5:21-cv-00616-JWH-SP Document 183-6 Filed 09/07/22 Page 6 of 6 Page ID #:2454




 1
                                CERTIFICATE OF SERVICE
 2
           I hereby certify that I have this day served a copy of the foregoing by email and

 3
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26         Date: April 22, 2022
                                                  /s/ Derek M. Bast
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                                                  Derek M. Bast
28




                    GOLDWATER’S RESPONSES TO ELIZAROV’S INTERROGATORIES - 31
                                                                         Exhibit AA - 6
